Case 08-14631-GMB          Doc 464-3 Filed 07/01/08 Entered 07/01/08 17:51:38                 Desc
                             Certificate of Service Page 1 of 5



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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY
                             (CAMDEN VICINAGE)
____________________________________
                                     :  (Hon. Gloria M. Burns)
In re:                               :
SHAPES/ARCH HOLDINGS, L.L.C.,        :  Chapter 11
et al,                               :
                  Debtors.           :  Lead Case No.: 08-14631 (GMB)
                                     :  (Jointly Administered)
                                     :
____________________________________:

                                   CERTIFICATE OF SERVICE

       I, Samantha L. Southall, hereby certify that on this 1st day of July, 2008, I caused a true

and correct copy of the foregoing Waste Management of New Jersey, Inc.'s Objection to Debtors'

Motion to Disallow Claims for Contribution and in the Alternative to Estimate Claims to be

served by First Class mail, postage prepaid, upon each of the parties or counsel listed on the

attached Service List and where indicated, also by electronic mail.

                                                     /s/ Samantha L. Southall

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                                                 1
Case 08-14631-GMB          Doc 464-3 Filed 07/01/08 Entered 07/01/08 17:51:38           Desc
                             Certificate of Service Page 2 of 5



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                                            2
Case 08-14631-GMB         Doc 464-3 Filed 07/01/08 Entered 07/01/08 17:51:38        Desc
                            Certificate of Service Page 3 of 5




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                                           3
Case 08-14631-GMB        Doc 464-3 Filed 07/01/08 Entered 07/01/08 17:51:38              Desc
                           Certificate of Service Page 4 of 5



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                                           4
Case 08-14631-GMB        Doc 464-3 Filed 07/01/08 Entered 07/01/08 17:51:38        Desc
                           Certificate of Service Page 5 of 5



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                                          5
